               UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                              1:12cr20


UNITED STATES OF AMERICA,                      )
                                               )
                                               )
v.                                             )            ORDER
                                               )
AVERY TED CASHION, III, et al.,                )
                                               )
      Defendants.                              )
                                               )
__________________________________             )

      Pending before the Court is the Government’s Motion to Disqualify Counsel

[# 24]. The Government moves this Court to enter an Order disqualifying Sean

Devereux as counsel for Defendant Avery Ted Cashion. The Government

contends that disqualification is required in this case because of potential and

current conflicts of interest arising from Mr. Devereux’s prior joint representation

of Defendants Cashion and Raymond Chapman. On May 3, 2012, the Court held

a hearing on the Government’s motion and conducted a Rule 44(c) inquiry on the

record. Upon a review of the record in this case and after consideration of the

testimony from the hearing, the Court DENIES the Government’s motion [# 24].

      I.     Analysis

      The Sixth Amendment to the United States Constitution guarantees a

                                           1


     Case 1:12-cr-00020-MR-SCR       Document 59     Filed 05/08/12    Page 1 of 4
criminal defendant the right to counsel. Wheat v. U.S., 486 U.S. 153, 158, 108 S.

Ct. 1692, 1696 (1988).    This includes the right of a criminal defendant to choose

counsel of his or her own choosing. United States v. Gonazlex-Lopez, 126 S. Ct.

2557, 2563 (2006); Wheat, 486 U.S. at 159, 108 S. Ct. 1697. The right to choose

one’s own counsel, however, is subject to certain limitations, including where a

conflict of interest exists as the result of the chosen attorney’s representation of a

co-defendant. Wheat, 486 U.S. at 159, 108 S. Ct. 1697; United States v. Ramsey,

661 F.2d 1013, 1017 (4th Cir. 1981).

      As a result, Rule 44(c) of the Federal Rules of Criminal Procedure directs

the Court to inquire into the “propriety of joint representation and must personally

advise each defendant of the right to the effective assistance of counsel, including

separate representation.” Fed. R. Crim. P. 44(c)(2). Joint representation under

Rule 44 occurs whenever two or more defendants are charged jointly or have been

joined for trial and the defendants are represented by the same counsel or counsel

in the same law practice. Fed. R. Crim. P. 44(c)(1). As the Fourth Circuit has

explained, however, a defendant may waive his or her right to a conflict-free

representation, provided that the waiver is voluntary, intelligent, and made

knowingly. United States v. Gilliam, 975 F.2d 1050, 1053 (4th Cir. 1992); U.S. v.

Brown, 202 F.3d 691, 697 (4th Cir. 2000).



                                            2


    Case 1:12-cr-00020-MR-SCR         Document 59      Filed 05/08/12   Page 2 of 4
      As a threshold matter, there is no current joint representation by counsel in

this case. Rather, this case involves a situation where one of the attorneys, Mr.

Devereux, represented multiple defendants during the pre-indictment phase of the

criminal investigation. Although the express language of Rule 44 does not refer to

situations of prior joint representation, the Court, in an abundance of caution,

scheduled a Rule 44(c) hearing in order to inquire on the record as to any potential

conflicts of interest and to inform Defendants of their rights.

      On May 3, 2012, the Court held the hearing and heard argument from

counsel regarding the potential conflicts of interest stemming from Mr. Devereux’s

prior representation of multiple Defendants in this matter. The Court questioned

both counsel and the Defendants regarding the potential conflicts. In addition, the

Court advised Defendants of their right to effective assistance of counsel and

explained the potential conflicts that could arise in this case as the result of Mr.

Devereux’s prior representation. In response to the Court’s individual inquiry with

Defendants, the Defendants each expressed their desire for Mr. Devereux to remain

in this case. Defendants Chapman and Cashion then executed Waivers of Right to

Conflict-Free Representation. Defendants Chapman and Cashion entered these

waivers voluntarily, knowingly, and intelligently. In fact, the only party who

objects to Mr. Devereux representing Defendant Cashion in this case is the



                                            3


    Case 1:12-cr-00020-MR-SCR         Document 59      Filed 05/08/12   Page 3 of 4
Government. After reviewing the record in this case, the relevant case law, and

after having the benefit of the Rule 44(c) hearing, the Court is satisfied that to the

extent any conflict exists currently or might exist at trial, Defendants have waived

any right to a conflict-free representation. United States v. Gilliam, 975 F.2d 1050,

1053 (4th Cir. 1992); U.S. v. Brown, 202 F.3d 691, 697 (4th Cir. 2000).

Accordingly, the Court DENIES the Government’s motion [# 24].

      II.    Conclusion

      The Court DENIES the Government’s Motion to Disqualify Counsel [# 24].




                                           Signed: May 8, 2012




                                           4


    Case 1:12-cr-00020-MR-SCR         Document 59     Filed 05/08/12    Page 4 of 4
